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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Elizabeth E. Brown

  In re:
                                                 Bankruptcy Case No. 20-12377 EEB
  SKLAR EXPLORATION COMPANY,                     Chapter 11
  LLC,
  EIN NO: XX-XXXXXXX

  Debtor.
  In re:                                         Bankruptcy Case No. 20-12380 EEB
                                                 Chapter 11
  SKLARCO, LLC,
  EIN NO: XX-XXXXXXX

  Debtor.                                        Jointly Administered Under
                                                 Case No. 20-12377 EEB
  THOMAS M. KIM, Creditor Trustee,

  Plaintiff,                                     Adversary Proceeding No. 22-01065 EEB

  v.

  HALLIBURTON ENERGY SERVICES,
  LLC,

  Defendant.

                    ORDER FOR COMPLIANCE WITH RULE 7026,
                    FED.R.BANKR.P. (RULE 26(f), FED.R.CIV.P.)

        THIS MATTER comes before the Court on the Plaintiff’s Complaint filed March
21, 2022, and Defendant’s Answer, filed May 20, 2022. The Court, having reviewed the
file and being advised in the premises,

       DOES ORDER as follows:

      1.    Pursuant to Rule 7026, Fed.R.Bankr.P., Rule 26, Fed.R.Civ.P., and L.B.R.
7026-1, counsel shall, on or before June 13, 2022:

               A.   Confer and discuss, pursuant to Rule 7026, Fed.R.Bankr.P., and
                    Rule 26(f), Fed.R.Civ.P.,

                    (i)      the nature and basis of their claims and defenses; and



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                   (ii)    the possibilities for a prompt settlement or resolution of the
      case.

                   (iii)   whether each party does or does not consent to entry of final
                           orders or judgment by the bankruptcy court in accordance
                           with GPO 2016-01.

              B.   Complete all initial disclosures required by Rule 26(a)(1),
                   Fed.R.Civ.P.

              C.   Develop a specific and firm discovery schedule and plan. This
                   discovery plan should

                   (i)     contain firm deadlines for completion of discovery and a date
                           to file dispositive motions;

                   (ii)    address any pertinent matters and identify anticipated
                           problems identified in Rule 16(b) and (c), Fed.R.Civ.P.;

                   (iii)   comply with L.B.R. 7026-1 or specify reasons why
                           compliance should be waived.

              D.   Submit a written report to the Court, on or before June 22, 2022,
                   which includes proposals for the following, or otherwise notify this
                   Court by written report filed on or before the above date that the
                   parties have resolved the issues in the within adversary proceeding
                   and that a settlement and/or dismissal is imminent:

                   (i)     Amended pleadings shall be filed, and/or additional parties
                           shall be joined, by ____________________.

                   (ii)    Parties will provide expert disclosure under Rule 26(a)(2),
                           Fed.R.Civ.P., by: ___________________.

                   (iii)   All discovery shall be completed by: _________________.

                   (iv)    Dispositive motions shall be filed by: _________________;
                           responses shall be filed within 14 days after mailing of the
                           dispositive motion.

                   (v)     A statement by each party as to whether that party does or
                           does not consent to entry of final orders or judgment by the
                           bankruptcy court on each claim, counterclaim, cross-claim,
                           or third party claim; and a certification that the parties have
                           complied with GPO 2016-01 by including such statement in
                           the complaint, counterclaim, cross-claim, third party
                           complaint and the responsive pleadings thereto. If a party
                           consents to the bankruptcy court’s entry of a final order or
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                            judgment on some, but not all claims, the party shall so
                            specify.

                     Submission of the report will serve as certification that all initial
                     required disclosures, pursuant to Rule 7026(a), Fed.R.Bankr.P.,
                     have been fully and timely completed.

       2.      Failure of the parties, or a party, to comply with, or otherwise respond to,
this Order may result in the imposition of sanctions, dismissal of the within proceeding,
or entry of judgment, if warranted and appropriate.

      3.     The parties shall commence discovery immediately after their Rule 26(f)
meeting, referenced in paragraph 1(A) above, is concluded.

       IT IS FURTHER ORDERED that a trial date will be set, if necessary, after
expiration of all pretrial deadlines and after the Court has ruled upon any dispositive
motions or upon request of the parties.

       DATED: this 23rd day of May, 2022.

                                                 BY THE COURT:


                                                  __________________________
                                                  Elizabeth E. Brown, Bankruptcy Judge




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